                     IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA

THERESA LYONS,

                  Plaintiff,
                                                        Case No. 3:09-cv-00072-TMB
vs.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

                Defendant.


                                JUDGMENT OF DISMISSAL

              This matter having come before the court on the stipulation of the parties;

and

              The court being otherwise fully advised;

              NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED that the above referenced matter is hereby dismissed, with prejudice, with

each party to bear its own costs and attorney’s fees.

              DATED this 6th day of January, 2010.


                                              /s/ Timothy M. Burgess
                                              TIMOTHY M. BURGESS
                                              U.S. DISTRICT COURT JUDGE




  Case 3:09-cv-00072-TMB Document 13 Filed 01/06/10 Page 1 of 1
